Exhibit 14

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W.G.O.

PETITION FOR WRIT OF HABEAS CORPUS
MARTINSVILLE GENERAL DISTRICT COURT CASE NO. C18-3138
MARTINSVILLE CIRCUIT COURT CASE NO. CR19000009-00

    

Exhibit in attachment to “BRIEF AND EXHIBITS IN SUPPORT OF PETITION FOR
WRIT OF HABEAS CORPUS”

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